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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

 CORRIGENT CORPORATION AND            )
 NAHUM COMMUNICATION N.T.B            )
 LTD.                                 )
                                      ) C.A. No. 1:22-cv-00496-RGA
              Plaintiffs,             )
      v.                              ) JURY TRIAL DEMANDED
                                      )
 DELL TECHNOLOGIES INC. AND DELL INC. )

                       Defendants.

                                FIRST AMENDED COMPLAINT

         Plaintiffs Corrigent Corporation (“Corrigent”) and Nahum Communication N.T.B Ltd.

(“Nahum”) (collectively, “Plaintiffs”), by their attorneys, demand a trial by jury on all issues so

triable and for its complaint against Defendants Dell Technologies Inc. and Dell Inc. (collectively,

“Dell” or “Defendants”), and allege as follows:

                                   NATURE OF THE ACTION

        1.       This is a civil action for patent infringement under the patent laws of the United

States, Title 35, United States Code, Section 271, et seq., involving the following United States

Patents, collectively, “Asserted Patents,” and seeking damages and injunctive relief as provided in

35 U.S.C. §§ 281 and 283–285.

                        U.S. Patent No. 6,957,369 (Exhibit 1, “ʼ369 patent”)
                        U.S. Patent No. 7,593,400 (Exhibit 2, “ʼ400 patent”)

                                          THE PARTIES

        2.       Plaintiff Corrigent is a Delaware Corporation. Plaintiff Corrigent may be served

with process through its registered agent for service at Harvard Business Services, Inc., 16192

Coastal Hwy., Lewes, Delaware 19958. Plaintiff Corrigent is the owner by assignment of the

Asserted Patents.


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        3.       Plaintiff Nahum is a private company organized and existing under the laws of

Israel, with its principal place of business at 41 Yosef Tzvi St, Ramat Gan, Israel. Plaintiff Nahum

assigned Plaintiff Corrigent the Asserted Patents.

        4.       Defendant Dell Technologies Inc. is a corporation organized and existing under the

laws of the State of Delaware, with its principal place of business at One Dell Way, Round Rock,

Texas 78682. Dell Technologies Inc. may be served through its registered agent, Corporation

Service Company, at 251 Little Falls Drive, Wilmington, Delaware 19808.

        5.       Defendant Dell Inc. is a corporation organized and existing under the laws of the

State of Delaware, with its principal place of business at One Dell Way, Round Rock, Texas 78682.

Dell Technologies Inc. may be served through its registered agent, Corporation Service Company,

at 251 Little Falls Drive, Wilmington, Delaware 19808.

                                  JURISDICTION AND VENUE

        6.       This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. §§ 1331 and 1338(a).

         7.      On information and belief, jurisdiction and venue for this action are proper in this

Judicial District.

         8.      This Court has personal jurisdiction over Defendants because they (i) are

incorporated in the State of Delaware and this Judicial District; (ii) have purposefully availed

themselves of the rights and benefits of the laws of the State of Delaware and this Judicial District;

(iii) have done and are doing substantial business in the State of Delaware and this Judicial District,

directly or through intermediaries, both generally and, on information and belief, with respect to

the allegations in this First Amended Complaint, including their one or more acts of infringement

in the State of Delaware and this Judicial District; (iv) maintain continuous and systematic contacts




{02043094;v1 }                                     2
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in the State of Delaware and this Judicial District; (v) and/or place products alleged to be infringing

in this First Amended Complaint in the stream of commerce with awareness that those products

are sold and offered for sale in the State of Delaware and this Judicial District. Defendants have

established sufficient minimum contacts with the State of Delaware and this Judicial District such

that they should reasonably and fairly anticipate being brought into court in the State of Delaware

and this Judicial District without offending traditional notions of fair play and substantial justice;

and Defendants have purposefully directed activities at residents of the State of Delaware and this

Judicial District. Moreover, at least a portion of the patent infringement claims alleged herein arise

out of or are related to one or more of the foregoing activities. On information and belief, a

substantial part of the events giving rise to Plaintiffs’ claims, including acts of patent infringement,

have occurred in the State of Delaware and this Judicial District.

         9.      Venue is proper in this Judicial District as to Defendants under 28 U.S.C. § 1400(b)

at least because they are incorporated in the State of Delaware and this Judicial District and reside

in the State of Delaware and this Judicial District.

                                              JOINDER

         10.     Joinder is proper under at least Federal Rule of Civil Procedure 20 and 35 U.S.C.

§ 299 at least because (i) Defendants stipulated to the joinder of Plaintiff Corrigent and Plaintiff

Nahum, and Plaintiffs seek relief jointly and with respect to or arising out of the same transaction,

occurrence, or series of transactions or occurrences and there are common questions of law and

fact common to Plaintiffs that will arise in the action; and (ii) Defendants’ infringing conduct

alleged herein arises out of the same transaction, occurrence, or series of transactions or

occurrences relating to the making, using, importing into the United States, offering for sale, or

selling of the same accused product or process, and questions of fact common to all Defendants

will arise in this action.


{02043094;v1 }                                     3
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                          CORRIGENT-SYSTEMS AND ITS
                 PIONEERING TELECOMMUNICATIONS TECHNOLOGY

         11.     Corrigent-Systems Ltd. (a.k.a. Orckit Communications Ltd.) (“Corrigent-Systems”

or “Orckit”) was founded in 1990 by Izhak Tamir, and went public and was listed on the Nasdaq

Stock Exchange in 1996.

         12.     Corrigent-Systems was a pioneer in the telecommunications field, with sales of its

telecommunications products exceeding $500M to various global telecommunications providers

such as Deutche Telekom (Germany) and Kokusai Denshin Denwa International (“KDDI”)

(Japan). Between 1990 and 2000, Corrigent-Systems became the market leader in asymmetric

digital subscriber line (ADSL) technology.

         13.     In 2000, Corrigent-Systems started to develop new telecommunications products

in the area of Ethernet switching and routing to optimize the transmission of voice and data over

Internet Protocol (IP) telecommunications networks. At the time, the field of Ethernet switching

and routing suffered many drawbacks. Early Ethernet technology used for sharing data in offices

and enterprises was not easily suited to serve as the backbone for telecommunications service

providers. For example, early Ethernet technology, used to connect a few computers in an office,

could not meet the reliability and resiliency requirements of service providers, where a single

connection may serve thousands of subscribers using different services in parallel. Nor could early

Ethernet technology support real-time streaming, guarantee a minimum or even consistent delay,

avoid back-up delay if a failure in the network occurs (e.g., a cable is damaged), or support the

broadcasting of high-data-rate data to multiple end points required by, for example, television

service providers.

         14.     Corrigent-Systems was a pioneer in overcoming these technology challenges.

Between 2000 and 2010, Corrigent-Systems invested approximately $200M toward research and



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development of its new Ethernet switching and routing products. Corrigent-Systems identified

and solved several obstacles in the field, and, as a result, was awarded hundreds of patents

including the Asserted Patents, spanning over 70 patent families. Corrigent-Systems’ product line

revolutionized the telecommunications industry. For example, KDDI in Japan deployed a country-

wide network of more than 2,000 Corrigent-Systems Ethernet switch products as early as 2005, a

time when Corrigent-Systems’ competitors lagged significantly behind Corrigent-Systems and its

innovative products and solutions.

         15.     The industry recognized Corrigent-Systems’ innovation. In a research study by

Bart Stuck & Michael Weingarten published in IEEE, Corrigent-Systems was ranked in the top

twenty innovative companies among hundreds of public companies. Stuck, B. and Weingarten,

M., “How Venture Capital Thwarts Innovation,” IEEE Spectrum (April 2005).

         16.     Plaintiff Corrigent Corporation obtained all rights in the asserted patents from

Plaintiff Nahum.

                                    THE ASSERTED PATENTS

                                      U.S. Patent No. 6,957,369

         17.     Plaintiff Corrigent is the lawful owner of all right, title, and interest in U.S. Patent

No. 6,957,369 (“ʼ369 patent”) entitled “HIDDEN FAILURE DETECTION,” including the right

to sue and recover for infringement thereof. A copy of the ʼ369 patent is attached hereto as Exhibit

1, which was duly and legally issued on October 18, 2005, naming Leon Bruckman and Shmuel

Ilan as the inventors.

         18.     The ʼ369 patent has 26 claims: 4 independent claims and 22 dependent claims.

         19.     The ʼ369 patent presented novel and unconventional systems and methods for

“diagnostic testing of electronic equipment, and specifically to non-intrusive self-testing of




{02043094;v1 }                                      5
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communication systems.” Ex. 1, ʼ369 patent at 1:5–7; id. at Abstract. The inventions of the ʼ369

patent, for example, “enable[] an electronic system to test its idle lines and components and detect

hidden failures without intruding on normal traffic carried by the system’s active lines.” Id. at

2:26–29. “The testing method makes use of existing components in the system and requires

substantially no dedicated testing hardware. It is applicable to all types of subsidiary modules,

even in systems that mix different modules using different data formats and communication

protocols.” Id. at 31–28. One embodiment of the inventions of the ʼ369 patent is shown in FIG.

1, reproduced below.




Id. at Fig. 1; see also id. at 4:54–5:54.

         20.     The claims of the ʼ369 patent, including claim 15 (reproduced below), recite at least

these inventive concepts of the ʼ369 patent.

         15. Modular electronic apparatus, comprising:

         a backplane, which comprises traces for carrying data between modules that are
         plugged into the backplane;


{02043094;v1 }                                     6
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         a main module, plugged into the backplane, the main module comprising a switch
         having ports for connection to the traces of the backplane;

         at least first and second subsidiary modules, plugged into the backplane so as to be
         connected to the main module by the traces, at least some of which traces are
         sometimes idle; and

         a system control processor, which is operative to select a first idle trace among idle
         traces connecting the first subsidiary module to a first port of the switch on the main
         module to serve as an aid trace, to instruct the first subsidiary module to loop back
         traffic reaching the first subsidiary module via the aid trace, to select for testing a
         second idle trace among the idle traces connecting the second subsidiary module to
         a second port of the switch on the main module, and to configure the switch to link
         the first and second ports, the system control processor being further operative to
         cause test traffic to be transmitted over the second idle trace from the second
         subsidiary module to the main module, wherein the test traffic is conveyed via the
         switch to the aid trace connecting to the first subsidiary module, and to report that
         a failure has occurred if the test traffic does not return to the second subsidiary
         module within a predetermined period of time.

Id. at claim 15.

         21.     The subject matter described and claimed in the ʼ369 patent, including the subject

matter of claim 15, was an improvement in computer and communications functionality,

performance, and efficiency, and was novel and not well-understood, routine, or conventional at

the time of the ʼ369 patent.

                                      U.S. Patent No. 7,593,400

         22.     Plaintiff Corrigent is the lawful owner of all right, title, and interest in U.S. Patent

No. 7,593,400 (“ʼ400 patent”) entitled “MAC ADDRESS LEARNING IN A DISTRIBUTED

BRIDGE,” including the right to sue and recover for infringement thereof. A copy of the ʼ400

patent is attached as Exhibit 2, which was duly and legally issued on September 22, 2009, naming

David Zelig, Leon Bruckman, Ronen Solomon, Zeev Oster, David Rozenberg, and Uzi Khill as

the inventors.

         23.     The ʼ400 patent has 20 claims: 2 independent claims and 18 dependent claims.

         24.     The ʼ400 patent presented novel and unconventional systems and methods “for


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bridging in virtual private LAN services (VPLS) and other distributed bridging systems.” Ex. 4,

ʼ400 patent at 1:6–9. The inventions of the ʼ400 patent, for example, provide “improved methods

for MAC learning and network nodes that implement such methods,” which “are useful especially

in the context of nodes that are configured to serve as virtual bridges in Layer 2 virtual private

networks, as well as in distributed bridge nodes of other types, particularly when multiple ports of

the node are conjoined in a LAG group,” and may be applied in different situations to, for example,

“to facilitate MAC learning in any distributed MAC learning environment.” Id. at 2:60–3:2. One

embodiment of the inventions of the ʼ400 patent is shown in FIG. 3, “a flow chart that

schematically illustrates a method for MAC learning,” reproduced below.




Id. at Fig. 3; see also id. at 7:55–10:48.

         25.     The claims of the ʼ400 patent, including claim 1 (reproduced below), recite at least

these inventive concepts of the ʼ400 patent.


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         1. A method for communication, comprising:

         configuring a network node having a plurality of ports, and at least first and second
         line cards with respective first and second ports, to operate as a distributed media
         access control (MAC) bridge in a Layer 2 data network;

         configuring a link aggregation (LAG) group of parallel physical links between two
         endpoints in said Layer 2 data network joined together into a single logical link,
         said LAG group having a plurality of LAG ports and a plurality of conjoined
         member line cards;

         providing for each of said member line cards a respective forwarding database
         (FDB) to hold records associating MAC addresses with ports of said plurality of
         ports of said network node;

         receiving a data packet on an ingress port of said network node from a MAC source
         address, said data packet specifying a MAC destination address on said Layer 2
         data network;

         conveying, by transmitting said data packet to said MAC destination address via
         said first port, said received data packet in said network node to at least said first
         line card for transmission to said MAC destination address;

         if said MAC destination address does not appear in said FDB, flooding said data
         packet via one and only one LAG port of said plurality of LAG ports;

         checking said MAC source address of the data packet against records in said FDB
         of said first line card; and

         if said FDB of said first line card does not contain a record of an association of said
         MAC source address with said ingress port, creating a new record of said
         association, adding said new record to the FDB of said first line card, and sending
         a message of the association to each member line card of said plurality of member
         line cards.

Id. at claim 1.

         26.      The subject matter described and claimed in the ʼ400 patent, including the subject

matter of claim 1, was an improvement in computer and communications functionality,

performance, and efficiency, and was novel and not well-understood, routine, or conventional at

the time of the ʼ400 patent.

                 BACKGROUND OF DEFENDANTS’ INFRINGING CONDUCT

         27.      Defendants are computer and networking companies that make, use, sell, and/or


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 offer for sale in the United States, and/or import into the United States, or have otherwise made,

 used, sold, offered for sale in the United States, and/or imported in the United States, routers and

 switches that infringe the Asserted Patents.

          28.       Defendants’ products that infringe the Asserted Patents (collectively, “Accused

 Products”) include the following:

                    Accused Products                                 Asserted Patents
                  Dell PowerEdge MX7000                         ʼ369 patent and ʼ400 patent

 The above-listed Accused Products are non-limiting. Additional products may infringe the

 Asserted Patents, and the above-listed Accused Products may infringe additional patents or other

 Asserted Patents.

          29.       Defendants infringe and continue to infringe the Asserted Patents by making, using,

 selling, offering to sell, and/or importing, without license or authority, the Accused Products as

 alleged herein.

          30.       Comparison of claims of the Asserted Patents to the Accused Products are attached

 as Exhibit 3 (ʼ369 patent) and Exhibit 4 (ʼ400 patent) and incorporated herein by reference.

 Defendants market, advertise, offer for sale, and/or otherwise promote the Accused Products and,

 on information and belief, do so to induce, encourage, instruct, and aid one or more persons in the

 United States to make, use, sell, and/or offer to sell their Accused Products. For example,

 Defendants advertise, offer for sale, and/or otherwise promote the Accused Products on their

 website. Defendants further publish and distribute data sheets, manuals, and guides for the

 Accused Products.         See, e.g., Ex. 5, excerpt of “Dell EMC PowerEdge MX Networking

 Deployment Guide” (publicly available at https://infohub.delltechnologies.com/t/dell-emc-

 poweredge-mx-networking-deployment-guide/); Ex. 6, “PowerEdge MX I/O Guide, I/O

 Connectivity        Options   for   the   PowerEdge     MX     Platform”    (publicly   available   at


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 https://www.dell.com/en-us/dt/networking/modular-system-switches/index.htm#pdf-

 overlay=//www.delltechnologies.com/asset/en-us/products/networking/briefs-

 summaries/PowerEdge_MX_IO_Guide.pdf). Therein, Defendants describe and tout the use of the

 subject matter claimed in the Asserted Patents, as described and alleged below.

                  COUNT I – INFRINGEMENT OF U.S. PATENT NO. 6,957,369

          31.     Plaintiffs incorporate by reference the allegations contained in paragraphs 1–30.

          32.     Defendants have made, used, offered for sale, sold, and/or imported products,

 including at least the Accused Products, that infringe, either literally or under the doctrine of

 equivalents, one or more claims of the ʼ369 patent in violation of 35 U.S.C. § 271(a), including

 claim 15. A comparison of claim 15 of the ʼ369 patent to the Accused Products is attached as

 Exhibit 3, which is incorporated herein by reference.

          33.     On information and belief, for the period of time after the filing of the Complaint

 (D.I. 1) on April 19, 2022, with knowledge of the ʼ369 patent at least as of the filing of the

 Complaint (D.I. 1) on April 19, 2022, Defendants have actively induced and continue to induce

 the direct infringement of one or more claims of the ʼ369 patent, including claim 15, in violation

 of 35 U.S.C. § 271(b) by their customers and/or end users of their products, including at least the

 Accused Products, by selling, providing support for, providing instructions for use of, and/or

 otherwise encouraging its customers and/or end-users to directly infringe, either literally and/or

 under the doctrine of equivalents, one or more claims of the ʼ369 patent, including claim 15, with

 the intent to encourage those customers and/or end-users to infringe the ʼ369 patent.

          34.     By way of example, on information and belief, Defendants actively induce

 infringement of the ʼ369 patent by encouraging, instructing, and aiding one or more persons in the

 United States, including but not limited to customers and end users who purchase, test, operate,

 and use Defendants’ products, including at least the Accused Products, to make, use, sell, and/or


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 offer to sell Defendants’ products, including at least the Accused Products, in a manner that

 infringes at least one claim of the ʼ369 patent, including claim 15. For example, as described

 above, Defendants actively market, advertise, offer for sale, and/or otherwise promote the Accused

 Products on their website. Defendants further actively market, advertise, offer for sale, and/or

 otherwise promote its Accused Products by publishing and distributing data sheets, manuals, and

 guides for the Accused Products. Therein, Defendants describe and tout the use of the subject

 matter claimed in the ʼ369 patent.

          35.     On information and belief, for the period of time after the filing of the Complaint

 (D.I. 1) on April 19, 2022, with knowledge of the ʼ369 patent at least as of the filing of the

 Complaint (D.I. 1) on April 19, 2022, Defendants also contribute to the infringement of one or

 more claims of the ʼ369 patent in violation of 35 U.S.C. § 271(c), including claim 15, by making,

 using, offering to sell or selling and/or importing a patented component or material constituting a

 material part of the invention, including at least the Accused Products, knowing the same to be

 especially made or especially adapted for use in an infringement and not a staple article or

 commodity of commerce suitable for substantial non-infringing use. This is evidenced by, among

 other things, the design, configuration, and functionality of Defendants’ Accused Products, which

 are especially made or especially adapted for use in an infringement of the ʼ369 patent when used

 for their normal and intended purpose. This is also evidenced by, among other things, Defendants’

 informational and promotional materials described above, which describe the normal use and

 intended purpose of the Accused Products and demonstrate that the Accused Products are

 especially made or especially adapted for a use that infringes the ʼ369 patent.

          36.     As a result of Defendants’ inducement of, and/or contribution to, infringement,

 their customers and/or end users made, used, sold, or offered for sale, and continue to make, use,




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 sell, or offer to sell Defendants’ products, including the Accused Products, in ways that directly

 infringe one or more claims of the ʼ369 patent, including claim 15. On information and belief,

 Defendants had actual knowledge of their customers’ and/or end users’ direct infringement at least

 by virtue of their sales, instruction, and/or otherwise promotion of Defendants’ products, including

 the Accused Products, at least as of the filing of the Complaint (D.I. 1) on April 19, 2022.

          37.     On information and belief, Defendants will continue to infringe the ʼ369 patent

 unless and until they are enjoined by this Court. Defendants, by way of their infringing activities,

 have caused and continue to cause Plaintiffs to suffer damages in an amount to be determined, and

 has caused and is causing Plaintiffs irreparable harm. Plaintiffs have no adequate remedy at law

 against Defendants’ acts of infringement and, unless they are enjoined from their infringement of

 the ʼ369 patent, Plaintiffs will continue to suffer irreparable harm.

          38.     Plaintiffs are entitled to recover from Defendants damages at least in an amount

 adequate to compensate for their infringement of the ʼ369 patent, which amount has yet to be

 determined, together with interest and costs fixed by the Court.

          39.     Plaintiffs have complied with 35 U.S.C. § 287 with respect to the ʼ369 patent.

                  COUNT II – INFRINGEMENT OF U.S. PATENT NO. 7,593,400

          40.     Plaintiffs incorporate by reference the allegations contained in paragraphs 1–39.

          41.     Defendants have made, used, offered for sale, sold, and/or imported products,

 including at least the Accused Products, that infringe, either literally or under the doctrine of

 equivalents, one or more claims of the ʼ400 patent in violation of 35 U.S.C. § 271(a), including

 claim 1. A comparison of claim 1 of the ʼ400 patent to the Accused Products is attached as Exhibit

 4, which is incorporated herein by reference.

          42.     On information and belief, for the period of time after the filing of the Complaint

 (D.I. 1) on April 19, 2022, with knowledge of the ʼ400 patent at least as of the filing of the


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 Complaint (D.I. 1) on April 19, 2022, Defendants have actively induced and continue to induce

 the direct infringement of one or more claims of the ʼ400 patent, including claim 1, in violation of

 35 U.S.C. § 271(b) by their customers and/or end users of their products, including at least the

 Accused Products, by selling, providing support for, providing instructions for use of, and/or

 otherwise encouraging its customers and/or end-users to directly infringe, either literally and/or

 under the doctrine of equivalents, one or more claims of the ʼ400 patent, including claim 1, with

 the intent to encourage those customers and/or end-users to infringe the ʼ400 patent.

          43.     By way of example, on information and belief, Defendants actively induce

 infringement of the ʼ400 patent by encouraging, instructing, and aiding one or more persons in the

 United States, including but not limited to customers and end users who purchase, test, operate,

 and use Defendants’ products, including at least the Accused Products, to make, use, sell, and/or

 offer to sell Defendants’ products, including at least the Accused Products, in a manner that

 infringes at least one claim of the ʼ400 patent, including claim 1. For example, as described above,

 Defendants actively market, advertise, offer for sale, and/or otherwise promote the Accused

 Products on their website. Defendants further actively market, advertise, offer for sale, and/or

 otherwise promote its Accused Products by publishing and distributing data sheets, manuals, and

 guides for the Accused Products. Therein, Defendants describe and tout the use of the subject

 matter claimed in the ʼ400 patent.

          44.     On information and belief, for the period of time after the filing of the Complaint

 (D.I. 1) on April 19, 2022, with knowledge of the ʼ400 patent at least as of the filing of the

 Complaint (D.I. 1) on April 19, 2022, Defendants also contribute to the infringement of one or

 more claims of the ʼ400 patent in violation of 35 U.S.C. § 271(c), including claim 1, by making,

 using, offering to sell or selling and/or importing a patented component or material constituting a




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 material part of the invention, including at least the Accused Products, knowing the same to be

 especially made or especially adapted for use in an infringement and not a staple article or

 commodity of commerce suitable for substantial non-infringing use. This is evidenced by, among

 other things, the design, configuration, and functionality of Defendants’ Accused Products, which

 are especially made or especially adapted for use in an infringement of the ʼ400 patent when used

 for their normal and intended purpose. This is also evidenced by, among other things, Defendants’

 informational and promotional materials described above, which describe the normal use and

 intended purpose of the Accused Products and demonstrate that the Accused Products are

 especially made or especially adapted for a use that infringes the ʼ400 patent.

          45.     As a result of Defendants’ inducement of, and/or contribution to, infringement,

 their customers and/or end users made, used, sold, or offered for sale, and continue to make, use,

 sell, or offer to sell Defendants’ products, including the Accused Products, in ways that directly

 infringe one or more claims of the ʼ400 patent, including claim 1. On information and belief,

 Defendants had actual knowledge of their customers’ and/or end users’ direct infringement at least

 by virtue of their sales, instruction, and/or otherwise promotion of Defendants’ products, including

 the Accused Products, at least as of the filing of the Complaint (D.I. 1) on April 19, 2022.

          46.     On information and belief, Defendants will continue to infringe the ʼ400 patent

 unless and until they are enjoined by this Court. Defendants, by way of their infringing activities,

 have caused and continue to cause Plaintiffs to suffer damages in an amount to be determined, and

 has caused and is causing Plaintiffs irreparable harm. Plaintiffs have no adequate remedy at law

 against Defendants’ acts of infringement and, unless they are enjoined from their infringement of

 the ʼ400 patent, Plaintiffs will continue to suffer irreparable harm.

          47.     Plaintiffs are entitled to recover from Defendants damages at least in an amount




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 adequate to compensate for their infringement of the ʼ400 patent, which amount has yet to be

 determined, together with interest and costs fixed by the Court.

          48.     Plaintiffs have complied with 35 U.S.C. § 287 with respect to the ʼ400 patent.

                                          JURY DEMAND

          Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiffs demand a trial by

 jury on all issues triable as such.

                                       PRAYER FOR RELIEF

          WHEREFORE, Plaintiffs Corrigent Corporation and Nahum Communication N.T.B Ltd.

 request that the Court enter judgment for Plaintiffs and against Defendants Dell Technologies Inc.

 and Dell Inc. and enter the following relief:

          A.      A judgment that Defendants infringe the following, Asserted Patents:

                         U.S. Patent No. 6,957,369 (Exhibit 1, “ʼ369 patent”)
                         U.S. Patent No. 7,593,400 (Exhibit 2, “ʼ400 patent”)

          B.      A permanent injunction restraining and enjoining Defendants, their officers,

 partners, agents, servants, employees, parents, subsidiaries, divisions, affiliate corporations, joint

 ventures, other related business entities and all other persons acting in concert, participation, or in

 privity with them, and their successors and assigns, from infringing the Asserted Patents;

          C.      An award of damages to Plaintiffs arising from Defendants’ past and continuing

 infringement up until the date Defendants are finally and permanently enjoined from further

 infringement, including compensatory damages;

          D.      A determination that this is an exceptional case and awarding Plaintiffs’ attorneys’

 fees pursuant to 35 U.S.C. § 285;

          E.      An order awarding Plaintiffs costs and expenses in this action;

          F.      An order awarding Plaintiffs pre- and post-judgment interest on its damages; and


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          G.      An award to Plaintiffs of such further relief at law or in equity as the Court deems

 just and proper.



                                                ASHBY & GEDDES

                                                /s/ Andrew C. Mayo

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